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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov

In re:                                                Chapter 11

SUN STEAKS, LLC,                                      Case No. 8:20-bk-7727-CED

         Debtor.
                                       /

                         SUBCHAPTER V TRUSTEE’S THIRD
              MOTION TO EXTEND DEADLINE PURSUANT TO 11 U.S.C. § 546(a)

         Amy Denton Mayer, the duly appointed Subchapter V Trustee (the “Trustee”) for the

bankruptcy estate of Sun Steaks, LLC (the “Debtor”), by and through the undersigned

counsel, moves this Court for entry of an order further extending the deadline pursuant to 11

U.S.C. § 546(a) to bring avoidance claims before two years after the order for relief is entered,

which the Court previously extended by an order. In support of this motion, the Trustee states:

                                           Background

         1.      On October 16, 2020 (the “Petition Date”), the Debtor filed with this Court its

Voluntary Petition for relief under Chapter 11 of Title 11 of the United States Code (the

“Bankruptcy Code”) and made an election to proceed under Subchapter V pursuant to the Small

Business Reorganization Act of 2019, as amended.

         2.      On October 19, 2020, the United States Trustee filed a Notice of Appointment of

Subchapter V Trustee (Doc. No. 5).

         3.      Pursuant to Section 5.03 of the Debtor’s Second Plan of Liquidation (Doc. No.

195) (the “Plan”) and Section 12 of this Court’s Order Confirming Debtor’s Second Plan of

Liquidation (Doc. No. 237) (the “Confirmation Order”), the Trustee is vested with the

authority to object to claims and pursue causes of action.
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         4.       The initial deadline to file complaints pursuant to 11 U.S.C. § 546 was October

15, 2022 (the “Avoidance Action Deadline”).

         5.       On October 12, 2022, the Trustee filed her Trustee’s Motion to Extend Deadline

Pursuant to 11 U.S.C. § 546(a) (Doc. No. 361).

         6.       On October 14, 2022, the Court entered its Order Granting Subchapter V

Trustee’s Motion to Extend Deadline Pursuant to 11 U.S.C. § 546(a) (Doc. No. 368), extending

the deadline through and including December 14, 2022, without prejudice to future requests for

extensions requested by the Trustee.

         7.       On December 7, 2022, the Trustee filed her Trustee’s Second Motion to Extend

Deadline Pursuant to 11 U.S.C. § 546(a) (Doc. No. 393).

         8.       On December 12, 2022, the Court entered its Order Granting Subchapter V

Trustee’s Second Motion to Extend Deadline Pursuant to 11 U.S.C. § 546(a) (Doc. No. 396),

extending the deadline through and including February 13, 2023, without prejudice to future

requests for extensions requested by the Trustee.

         9.       The Trustee has already filed certain complaints to avoid and recover transfers in

advance of the Avoidance Action Deadline. However, as previously stated, the Trustee requires

more information about the Debtor’s prepetition relationships, transactions, and accounting

practices to complete her investigation as to other causes of action. To gather that information,

the Trustee has been diligently pursuing discovery of the Debtor’s books, records, and other

information related to the Debtor’s prepetition relationships and transactions. On June 2, 2022,

the Trustee served subpoenas under Rule 2004 on the Debtor’s parent company, Sun Holdings,

Inc., and other related entities seeking full and complete production of the Debtor’s prepetition

financial information.


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         10.      The subpoena targets have not formally responded to the subpoenas. The Trustee

was forced to file a Motion to Compel Production of Documents Pursuant to Rule 2004

Subpoenas (Doc. No. 329). The Court entered an order granting the Trustee’s motion to compel

on August 31, 2022. (Doc. No. 334).

         11.      The subpoena recipients then failed to respond to the Court’s order, necessitating

the Trustee’s Motion for Order to Show Cause Why Subpoenaed Parties Should Not be Held in

Contempt of Court for Failure to Comply with Order (Doc. No. 336). Following the last hearing

on the motion to show cause, on December 2, 2022 the Court entered an order (Doc. No. 390),

among other things referring the Trustee and the recipients of the Rule 2004 subpoenas to

mediation, tolling any applicable limitations periods as to those entities, and requiring the

entities to sit for a Rule 2004 examination deposition by December 9, 2022.

         12.      The depositions were scheduled, but the deponent had a heart event that

prevented him from attending the deposition, and the Trustee was forced to reschedule the

deposition. As a result, the Trustee requests an additional extension of the Avoidance Action

Deadline.

                               Relief Requested and Basis for Relief

         13.      The Trustee seeks a 60-day extension of the Avoidance Action Deadline,

through and including Friday, April 14, 2023, without prejudice to further extensions for good

cause. The Trustee believes this extension will allow her to exact compliance from records

custodians of the Debtor’s financial information and further provide sufficient time to review

such information in relation to potential estate causes of action.

         14.      The Eleventh Circuit Court of Appeals has confirmed that bankruptcy courts have

the authority to enlarge the two-year time period to bring avoidance actions set forth in Section


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546(a) of the Bankruptcy Code. See In re Int’l Admin. Servs., Inc., 408 F.3d 689, 699 (11th Cir.

2005); In re Fundamental Long Term Care, Inc., 501 B.R. 784, 788 792 (Bankr. M.D. Fla. 2013)

(“There is no question the Court has the authority to enlarge the two-year limitations period

under section 546(a).”).

         15.      “Rule 9006(b) specifically provides that the Court, in its discretion, may enlarge

the time period for completing any act required under the Federal Rules of Bankruptcy

Procedure.” In re Int’l Admin Servs. Inc., 408 F.3d at 699. In International Administrative

Services, the Eleventh Circuit reasoned that Section 546’s statutory deadline is subject to

enlargement through Bankruptcy Rule 9006 because the rule incorporates all other Bankruptcy

Rules, including Bankruptcy Rules 7001 (prescribing actions which may be brought as adversary

proceedings) and 7003 (governing commencement of adversary proceedings). See id. Because

Section 546(a) of the Bankruptcy Code sets a deadline for bringing avoidance actions, which are

brought by adversary proceeding, the Eleventh Circuit held that Bankruptcy Rule 9006

authorizes a bankruptcy court to extend the time to bring such adversary proceedings. Id.; see In

re Fundamental Long Term Care, Inc., 501 B.R. at 788.

         16.      Here, the Court has extended the deadline by court order. The Trustee requests a

further extension of the deadline set forth in that order. The Trustee’s request satisfies the “for

cause” standard for an enlargement under Bankruptcy Rule 9006 of the deadline to bring causes

of action. Whether the “for cause” standard is satisfied is a determination within the discretion of

the bankruptcy court. See Matter of James, 187 B.R. 395, 397 (Bankr. N.D. Ga. 1995) (“[T]he

term “for cause” should receive a liberal construction.”); Wenhope Ass’n v. Plantation Manor

Restaurant of Houma (In re Plantation Manor Restaurant of Houma), 45 B.R. 229, 232 n. 4




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(E.D. & W.D. Ark. 1984); In re Kellogg, 41 B.R. 836, 838 (Bankr. W.D. Okla. 1984); Mfrs.

Hanover Trust Co. v. Horvath (In re Horvath), 20 B.R. 962, 965 (Bankr. S.D. N.Y. 1982)).

         17.      The Trustee has diligently sought financial information and information relating

to the Debtor’s prepetition relationships in order to aid her investigation, but the Debtor’s

prepetition records custodians—affiliate entities—have yet to be able to sit for examination. The

Trustee has been ordered to mediate those issues, and had a deadline for a deposition that has

unfortunately been extended solely as a result of the medical condition of the deponent.

Additional time will allow the Trustee time to obtain and analyze requested information to

develop and assess claims the estate may have against third parties. Cause exists to grant the

requested extension.

         WHEREFORE, the Debtor respectfully requests that this Court enter an order, the

 proposed form of which is attached hereto as Exhibit A, (i) granting this motion, (ii)

 extending the Avoidance Action Deadline under 11 U.S.C. § 546(a) for a period of 60 days

 through and including Friday, April 14, 2023, and (iii) for such further relief as is appropriate

 under the circumstances.

           DATED: February 13, 2023.

                                               /s/ Daniel R. Fogarty
                                               Daniel R. Fogarty (FBN 0017532)
                                               STICHTER RIEDEL BLAIN & POSTLER, P.A.
                                               110 East Madison Street, Suite 200
                                               Tampa, Florida 33602
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that true and correct copies of the foregoing Subchapter V

Trustee’s Third Motion to Extend Deadline Pursuant to 11 U.S.C. §546(a) have been furnished

on this 13th day of February, 2023 by the Court’s electronic CM/ECF noticing system to all

parties receiving electronic notice.


                                          /s/ Daniel R. Fogarty
                                          Daniel R. Fogarty




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In re:                                                         Chapter 11

SUN STEAKS, LLC,                                               Case No. 8:20-bk-07727-CED

         Debtor.
                                             /

               ORDER GRANTING SUBCHAPTER V TRUSTEE’S
      THIRD MOTION TO EXTEND DEADLINE PURSUANT TO 11 U.S.C. § 546(a)

         THIS CASE came on for consideration upon the Subchapter V Trustee’s Third Motion to

Extend Deadline Pursuant to 11 U.S.C. § 546(a) (Doc. No. ___) (the “Motion”). The Court

having considered the Motion together with the record, finds that the Motion is well taken and

should be granted as set forth herein. Accordingly, it is

         ORDERED that:

         1.       The Motion is granted.

         2.       The time for the Trustee to file complaints pursuant to 11 U.S.C. § 546(a) is

hereby extended for an additional 60 days, through and including Friday, April 14, 2023. This

extension is without prejudice to future requests for extensions requested by the Trustee.

Attorney Daniel R. Fogarty is directed to serve a copy of this order on interested parties who do not receive service
by CM/ECF and file a proof of service within three days of entry of this order.
